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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF NORTH DAKOTA
                                    WESTERN DIVISION

                                              )
ENERGY TRANSFER EQUITY, L.P., and             )      Case No. 17-cv-00173-DLH-CSM
ENERGY TRANSFER PARTNERS, L.P.,               )
                                              )
              Plaintiffs,                     )      American Civil Liberties Union,
                                              )      American Civil Liberties Union of
       v.                                     )      North Dakota, American Civil
                                              )      Liberties Union of South Dakota,
GREENPEACE INTERNATIONAL (aka                 )      Natural Resources Defense Council,
“STICHTING GREENPEACE COUNCIL”);              )      ARTICLE 19, Brennan Center for
GREENPEACE, INC.; GREENPEACE FUND,            )      Justice, First Amendment Coalition,
INC.; BANKTRACK (aka “STICHTING               )      and Rockefeller Brothers Fund’s
BANKTRACK”); EARTH FIRST!; and JOHN           )      Motion for Leave to File an Amicus
AND JANE DOES 1-20,                           )      Curiae Brief in support of
                                              )      Defendants’ Motion to Dismiss
              Defendants.                     )
                                              )

       Pursuant to District of North Dakota Rule 7.1(G), the American Civil Liberties Union

(ACLU), the ACLU of North Dakota, the ACLU of South Dakota, the Natural Resources

Defense Council, ARTICLE 19, the Brennan Center for Justice, the First Amendment

Coalition, and the Rockefeller Brothers Fund (Amici) respectfully submit this Motion for

Leave to File an Amicus Curiae Brief in Support of Defendants Greenpeace International,

Greenpeace, Inc., Greenpeace Fund, Inc., and BankTrack’s November 28, 2017, Motions to

Dismiss Plaintiffs’ complaint. ECF Nos. 37, 38, 40. The proposed Amicus Curiae Brief is

attached as Exhibit 1.

       Defendants Greenpeace International, Greenpeace, Inc., Greenpeace Fund, Inc., and

BankTrack consent to this motion. Plaintiffs Energy Transfer Equity, L.P. and Energy

Transfer Partners, L.P. do not consent.


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       Amici are nonprofit groups that often advocate on issues of public concern. They

have a strong interest in the fundamental First Amendment freedoms to speak and

associate. Like many charities, Amici depend on financial contributions to survive.

       Amici’s proposed brief may assist the Court in adjudicating Defendants’ motions by

pointing out the broader impact Plaintiffs’ liability theories would have on the vitality of

nonprofit advocacy. For reasons detailed in the proposed brief, Amici believe that Plaintiffs’

legal theories threaten the rights to speak and associate freely. As a result, they urge careful

scrutiny of the merits of Plaintiffs’ allegations at the pleading stage, and dismissal of the

complaint, to protect fundamental First Amendment freedoms, not only for these

Defendants but for all nonprofit advocacy groups. The Court may wish to weigh these

factors in considering the pending motions to dismiss. See D.N.D. Civ. L. R. 7.1(G)(1).

       Amici respectfully request that this Court grant their motion to file the attached

Amicus Curiae Brief.



Dated: December 5, 2017                     Respectfully submitted,

                                            /s/ Daniel N. Carpenter-Gold
                                            Daniel N. Carpenter-Gold (admitted pro hac vice)
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